       Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 1 of 9



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 8
     Interim Lead Counsel for the
 9   Direct Purchaser Plaintiffs
10
                                UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                    SAN FRANCISCO DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)             Master File No. CV- 07-5944-SC
14   ANTITRUST LITIGATION
     ____________________________________      MDL No. 1917
15   This Document Relates to:
                                               DECLARATION OF R. ALEXANDER
16                                             SAVERI IN SUPPORT OF DIRECT
     ALL DIRECT PURCHASER ACTIONS              PURCHASER PLAINTIFFS’ RESPONSE TO
17                                             DELL AND SHARP ADMINISTRATIVE
                                               MOTIONS TO CONFIRM OPT-OUT
18                                             REQUESTS OR, IN THE ALTERNATIVE,
                                               FOR AN ORDER ENLARGING TIME TO
19                                             OPT OUT
20                                             Judge: Honorable Samuel Conti
                                               Courtroom: 1
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     RAS DECL. ISO DPPs’ RESP. TO DELL AND SHARP ADMIN. MOTS. TO CONFIRM OPT-OUT REQUESTS OR,
     IN THE ALTERNATIVE, FOR AN ORDER ENLARGING TIME TO OPT OUT – Case No. 07-cv-5944 SC
       Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 2 of 9




 1   I, R. Alexander Saveri, declare:

 2          1.      I am a partner with Saveri & Saveri, Inc., Interim Lead Counsel for Direct Purchaser

 3   Plaintiffs in this litigation. I am a member of the Bar of the State of California and an attorney

 4   admitted to practice in the Northern District of California. I make this Declaration in Support of

 5   Direct Purchaser Plaintiffs’ Response to Dell and Sharp Administrative Motions to Confirm Opt-

 6   Out Requests or, in the Alternative, for an Order Enlarging Time to Opt Out. Except as otherwise

 7   stated, I have personal knowledge of the facts stated below.

 8          2.      On June 26, 2014, the date the list was due, DPPs were surprised to note the absence
 9   of opt-out requests from the Sharp and Dell entities. DPPs expected to receive such requests
10   because Dell and Sharp were actively litigating their own cases against Defendants and had opted
11   out of every other class settlement.
12          3.      On June 26, 2014, DPPs telephoned the lawyers for Dell and Sharp to inquire
13   whether their clients intended to participate in the class settlements. In each case, the lawyers
14   expressed surprise and immediately indicated that their clients did not intend to participate in the
15   settlements. Shortly thereafter, each transmitted written confirmation that their clients wished to be
16   excluded from the settlement classes.
17          4.      The notice of the Samsung SDI and Hitachi settlements was sent to various Dell and
18   Sharp addresses and published in accordance with the Preliminary Approval Order. The notice was

19   also posted on the class website.

20          5.      The opt-out deadline is stated in the FAQ section of the website. Attached hereto as

21   Exhibit 1 is a true and correct copy of the www.crtdirectpurchaserantitrustsettlement.com FAQ

22   section, which has not changed since May 8, 2014.

23          6.      As a result of the above described telephone calls, the Dell and Sharp entities were

24   included on the list of excluded class members that DPPs timely filed on June 26, 2014.

25   Defendants Hitachi and Samsung SDI were notified of all the opt-outs, including Dell and Sharp,

26   on the Court ordered deadline. Settling Defendants would have received notice of the Dell and

27   Sharp exclusions on the same date even if the exclusion requests had been timely submitted.

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     RAS DECL. ISO DPPs’ RESP. TO DELL AND SHARP ADMIN. MOTS. TO CONFIRM OPT-OUT REQUESTS OR,
     IN THE ALTERNATIVE, FOR AN ORDER ENLARGING TIME TO OPT OUT – Case No. 07-cv-5944 SC
       Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 3 of 9




 1          7.      Because damages are directly related to class members’ total purchases of CRTs and

 2   Finished Products, this amount was a critical component to the settlement negotiations between

 3   DPPs and Settling Defendants.

 4          8.      Because Dell and Sharp were litigating their own cases and had opted out of all

 5   previous class settlements, DPPs did not include their purchases in their settlement analysis. It was

 6   clearly understood during settlement negotiations with both Hitachi and Samsung SDI that Dell

 7   and Sharp were not in the class. In other words, DPPs did not settle Dell or Sharp’s claims.

 8          9.      I am informed that Sharp and Dell’s CRT and CRT Product purchases during the

 9   class period are in billions of dollars. For example, Dell’s counsel informed me today that its

10   purchases from Samsung SDI exceed $1.6 billion.

11          I declare under the penalty of perjury under the laws of the United States of America that

12   the foregoing is true and correct.

13        Executed the 28th day of July, 2014 in San Francisco, California.

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                                                                  /s/ R. Alexander Saveri
15                                                                  R. Alexander Saveri
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     RAS DECL. ISO DPPs’ RESP. TO DELL AND SHARP ADMIN. MOTS. TO CONFIRM OPT-OUT REQUESTS OR,
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Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 4 of 9




            EXHIBIT 1
Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 5 of 9
Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 6 of 9
Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 7 of 9
Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 8 of 9
Case 4:07-cv-05944-JST Document 2715-1 Filed 07/28/14 Page 9 of 9
